

Matter of Raheem D. (2018 NY Slip Op 07934)





Matter of Raheem D.


2018 NY Slip Op 07934


Decided on November 20, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 20, 2018

Renwick, J.P., Richter, Tom, Kern, Oing, JJ.


7644

[*1]In re Raheem D., A Person Alleged to be a Juvenile Delinquent, Appellant. Presentment Agency


Dawne A. Mitchell, The Legal Aid Society, New York (Diane Pazar of counsel), for appellant.
Zachary W. Carter, Corporation Counsel, New York (Deborah E. Wassel of counsel), for presentment agency.



Order of disposition, Family Court, Bronx County (Robert D. Hettleman, J.), entered on or about June 15, 2017, which adjudicated appellant a juvenile delinquent upon a fact-finding determination that he committed acts that, if committed by an adult, would constitute the crimes of sexual abuse in the first and third degrees (two counts each) and endangering the welfare of a child, and placed him on probation for a period of 18 months, unanimously affirmed, without costs.
The court's finding was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). Issues of credibility, including the weight given to minor inconsistencies, were properly considered by the court, and there is no basis for disturbing its determinations.
The court providently exercised its discretion in adjudicating appellant a juvenile delinquent and placing him on probation, because this was the least restrictive dispositional alternative consistent with appellant's needs and the community's need for protection (see Matter of Katherine W., 62 NY2d 947 [1984]), in light of the serious sex offense committed against a much younger child. An adjournment in contemplation of dismissal would not have ensured that, after its term expired, appellant would remain in and satisfactorily complete an appropriate sex offender treatment program.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 20, 2018
DEPUTY CLERK








